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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                    )              CASE NO. 8:07CR375
                                             )
              Plaintiff,                     )
                                             )
              vs.                            )                     ORDER
                                             )
EDWIN GUEVARA-PINEDA,                        )
                                             )
              Defendant.                     )

       This matter is before the Court on the motion filed by a nonparty, David R. Stickman,

for a transcript (Filing No. 77).

       IT IS ORDERED:

       1.     The motion filed by a nonparty, David R. Stickman, for a transcript (Filing

              No. 77) is granted; and

       2.     The Clerk is directed to provide notice of this Order to David R. Stickman and

              Brenda Fauber.

       DATED this 1st day of May, 2008.

                                                 BY THE COURT:


                                                 s/Laurie Smith Camp
                                                 United States District Judge
